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 7
                                      UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00131-TLN

11                                 Plaintiff,
                                                         ORDER SEALING DOCUMENTS
12                          v.

13   EDGAR EDUARDO HERRERA,

14                                Defendant.

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18          Pursuant to Local Rule 141(b), and based on the representations contained in the Government’s

19 Request to Seal, IT IS HEREBY ORDERED that the Government’s Exhibit 2 to Government’s

20 Opposition to Defendant’s Motion for Compassionate Release pertaining to Defendant Edgar Herrera

21 (“Defendant”), and the Government’s Request to Seal shall be SEALED until further order of this Court.

22          It is further ordered that electronic access to the sealed documents shall be limited to the United

23 States and counsel for Defendant.

24          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court

25 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

26 the Government’s Request, sealing the Governments’s Request and Exhibit 2 serves a compelling
27 interest. The Court further finds that, in the absence of closure, the compelling interests identified by the

28 Government would be harmed. In light of the public filing of its Notice to Seal, the Court further finds

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 1 that there are no additional alternatives to sealing the Government’s Request and Exhibit 2 that would

 2 adequately protect the compelling interests identified by the Government.

 3          IT IS SO ORDERED.

 4 DATED: October 8, 2020

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 8                                                                    Troy L. Nunley
                                                                      United States District Judge
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